                                                                                                                                                              \   1

                      Case 7:21-cv-00083-HL Document 1 Filed 07/09/21 Page 1 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination
                                                                                                                                                   . ·.~.
                                                                                                                                                    ,·

                                                                                                                                           I
                                                                                                                                           .   ·. .. ,
                                                                                                                                               ~
                                                                                                                                                    ,·
                                                                                                                                                         ..



                                       UNITED STATES DISTRICT Cou1tt ·-~ JUL O
                                                                             '
                                                                               9 2021                        :
                                                                         for the                                 UNITED STATES DISTRICT COURT
                                                                                                                  MIDDLE DISTRICT OF GEORGIA
                                                                        District of
                                                                                                                                      Appendix D
                                                                                   Ca<;eNo.
                                                                            )
                                                                                                  (to be filled in bYthe Clerk's Office)
                                                                            )
                                                                            )
                              Plaintiff(s)
(Write the fi1/I name of each plaintiff who is filing this complaint.       )
If the names ofall the plaintiffs cannot fit in the space above,            )      Jury Trial: (check one)       0   Yes    O    No
please write "see attached" in the space and attach an additional           )
page with the full list of names.)
                                 -v-                                        )
                                                                            )
                                                                            )
                                                                            )
                                                                            )
                              Defendant(s)
                                                                            )
(Write the full name of each defendant who is being sued. If the            )
names of all the defendants cannot fit in the space above, please           )
write "see attached" in the space and attach an additional page
with the full list of names.)
                                                                            )


                              COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                               Name
                               Street Address
                               Citv and Countv
                               State and Zin Code
                               Telenhone Number
                               E-mail Address

          B.        The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.



                     Defendant No. 1
                            Name
                            .Toh or Title (i(knnwn)
                     Case 7:21-cv-00083-HL Document 1 Filed 07/09/21 Page 2 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination


                               Street Address                   Jo4- E, H:/ JI Ave.
                               Citv and Countv
                               State and Zin Code
                               Telenhone Number
                               E-mail Address (if known)

                    Defendant No. 2
                           Name
                           Job or Title (if known)
                           Street Address
                           Citv and Countv
                           State and Zin Code
                           Telenhone Number
                           E-mail Address (ifknnwnl

                    Defendant No. 3
                           Name
                           Job or Title (if known)
                           Street Address
                           Citv and Countv
                           State and Zin Code
                           Telenhone Number
                           E-mail Address (if known)

                    Defendant No. 4
                           Name
                           Job or Title (if known)
                           Street Address
                           Citv and Countv
                           State and Zin Code
                           Telenhone Number
                           E-mail Address (ifknnwnl

         C.         Place of Employment

                    The address at which I sought employment or was employed by the defendant(s) is

                              Name
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number

                                                                  31
                      Case 7:21-cv-00083-HL Document 1 Filed 07/09/21 Page 3 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination




II.       Basis for Jurisdiction

          This action is brought for discrimination in employment pursuant to (check all that apply):

                                 Title VII of the Civil Rie:hts Act of 1964. as codified. 42 U.S.C. && 2000e to 2000e-17 (race.
                                 color. gender. religion. national origin).

                                 (Note: In order to bring suit in federal district court under Title VIL you must first obtain a
                                 Notice of Right to Sue letter from the Equal Employment Opportunity Commission.)
                                                                                                               '

                                 Ae:e Discrimination in Emnlovment Act of 1967. as codified. 29 U.S.C. && 621 to 634.

                                 (Note: In order to bring suit in federal district court under the Age Discrimination in
                                 Employment Act, you must first file a charge with the Equal Employment Opportunity
                                 Commission.)

                                 Americans with Disabilities Act of 1990. as codified. 42 U.S.C. && 12112 to 12117.

                                 (Note: In order to bring suit in federal district court under the Americans with Disabilities
                                 Act, you must first obtain a Notice of Right to Sue letter from the Equal Employment
                                 Opportunity Commission.)


                 •               Other federal law (specify the federal law):



                 •               Relevant state law (specify, if known):



                 •               Relevant city or county law (specify, if known):




III.      Statement of Claim

         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
         facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
         involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
         the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
         write a short and plain statement of each claim in a separate paragraph. Attach additional pa~es if needed.

         A.          The discriminatory conduct of which I complain in this action includes (check all that apply):



                            ~
                                          Failure to hire me.
                                          Termination ofmy employment.

                            •             Failure to promote me.


                                                                     32
                     Case 7:21-cv-00083-HL Document 1 Filed 07/09/21 Page 4 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination




                            ~
                                          Failure to accommodate my disability.
                                          Unequal terms and conditions of my employment.

                            •             Retaliation.

                            •             Other acts (specify):
                                          (Note: Only those grounds raised in the charge filed with the Equal Employment
                                          Opportunity Commission can be considered by the federal district court under the
                                         federal employment discrimination statutes.)

       B.           It is my best recollection that the alleged discriminatory acts occurred on date(s)



       C.           I believe that defendant(s) (check one):
                                          is/are still committin12: these acts a12:ainst me.
                                          is/are not still committin12: these acts a12:ainst me.

       D.           Defendant(s) discriminated against me based on my (check all that apply and explain):
                            if            race


                            ~
                                          color
                                          gender/sex
                            [il           religion

                            •             national origin

                            •             age (year of birth)                    (only when asserting a claim of age discrimination.)

                            •             disability or perceived disability (specify disability)

                          OtW,t,          f~ ~         P°"'J °'-"J £ Jr,uJiof'
       E.           The facts of my case are as follows. Attach additional pages if needed.




                    (Note: As additional support for the facts ofyour claim, you may attach to this complaint a copy of
                    your charge filed with the Equal Employment Opportunity Commission, or the charge filed with the
                    relevant state or city human rights division.)




                                                                       33
                     Case 7:21-cv-00083-HL Document 1 Filed 07/09/21 Page 5 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination



IV.     Exhaustion of Federal Administrative Remedies

        A.          It is my best recollection that I filed a charge with the Equal Employment Opportunity Commission or
                    my Equal Employment Opportunity counselor regarding the defendant's alleged discriminatory conduct
                    on (date)




        B.          The Equal Employment Opportunity Commission (check one):
                            n             has not issued a Notice of Ri12:ht to Sue letter.
                            rvf           issued a Notice ofRi12:ht to Sue letter. which I received on (date!   (Js/q,fa.ol9
                                                                                                               T I
                                         (Note: Attach a copy of the Notice of Right to Sue letter from the Equal Employment
                                         Opportunity Commission to this complaint.)

       C.           Only litigants alleging age discrimination must answer this question.

                    Since filing my charge of age discrimination with the Equal Employment Opportunity Commission
                    regarding the defendant's alleged discriminatory conduct (check one):

                            rv/           60 davs or more have elaosed.
                            n             less than 60 davs have elaosed.

V.     Relief

       State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
       arguments. Include any basis for claiming that the wrongs alleged are continuing at the present:time. Include the
       amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any punitive
       or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or punitive
       money damages.




VI.    Certification and Closing

       Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
       and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
       unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
       nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
       evidentiary support or, if specifically so identified, will likely have evidentiary support after a teasonable
       opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
       requirements of Rule 11.


                                                                     34
                     Case 7:21-cv-00083-HL Document 1 Filed 07/09/21 Page 6 of 6

Pro Se 7 (Rev. 09/16) Complaint for Employment Discrimination




        A.          For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:


                    Signature of Plaintiff
                    Printed Name of Plaintiff

       B.           For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




                                                                35
